Case 2:20-cr-00326-JFW Document 1192 Filed 10/24/23 Page 1 of 3 Page ID #:27399




 1   CUAUHTÉMOC ORTEGA (Bar No. 257443)
     Federal Public Defender
 2   CHARLES SNYDER (Bar No. 287247)
     Email: Charles_Snyder@fd.org
 3   ADAM OLIN (Bar No. 298380)
     Email: Adam_Olin@fd.org
 4   Deputy Federal Public Defenders
     321 E. 2nd Street
 5   Los Angeles, California 90012
     Telephone: (213) 894-2854
 6   Facsimile: (213) 894-0081
 7   Attorneys for Defendant
     JOSÉ LUIS HUIZAR
 8
                               UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11
12   UNITED STATES OF AMERICA,                       Case No. 20-CR-326-JFW-1
13                Plaintiff,                         UNOPPOSED EX PARTE
                                                     APPLICATION TO CONTINUE
14         v.                                        SENTENCING HEARING AND
                                                     RELATED DATES FROM
15   JOSÉ LUIS HUIZAR,                               DECEMBER 15, 2023 TO JANUARY
                                                     26, 2024
16                Defendant.
17
18         Jose Huizar, through counsel, applies ex parte and without opposition to continue
19   his sentencing date from December 15, 2023 to January 26, 2024. Huizar bases this
20   application on the attached declaration of counsel, the files and records in this case, and
21   any other evidence or argument that the Court may consider.
22
23                                           Respectfully submitted,
                                             CUAUHTEMOC ORTEGA
24                                           Federal Public Defender
25   DATED: October 23, 2023             By /s/ Charles J. Snyder
                                           Charles J. Snyder
26                                         Attorney for Jose Huizar
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Case 2:20-cr-00326-JFW Document 1192 Filed 10/24/23 Page 2 of 3 Page ID #:27400




 1                       DECLARATION OF CHARLES J. SNYDER
 2   I, Charles J. Snyder, declare as follows:
 3         1.     I am a California-licensed DFPD appointed to represent Jose Huizar in this
 4   matter. I make this declaration based on personal knowledge and, if called as a witness,
 5   would attest to its contents under oath.
 6         2.     Mr. Huizar changed his plea on January 20, 2023, at which time the Court
 7   set an April 3, 2023 date for his sentencing. The Court previously granted two requests
 8   to continue the sentencing, first from April 3, 2023 to September 25, 2023, and later
 9   from September 25, 2023 to December 15, 2023.
10         3.     I write to request an additional continuance from December 15, 2023 to
11   January 26, 2024. The government offered to stipulate to these dates, but I am filing
12   this request as an unopposed ex parte application, rather than a stipulation, because it
13   includes information that only I know.
14         4.     Until his change of plea, Mr. Huizar had three lawyers working on his
15   case. Shortly after the change of plea, and for roughly six months between February
16   and August 2023, I was the only lawyer working on this matter, which I was attempting
17   to balance with other professional commitments.1 In August 2023, Mr. Olin returned
18   from his personal leave, but much of his time since returning has been consumed by a
19   murder-for-hire case in which his client asserted his speedy-trial rights. Since
20   September 2023, I have been on leave due to the birth of my child.
21         5.     This is a large and complicated matter with significant public interest and
22   potential sentencing exposure. The sentencing submissions (including the PSR) in this
23   case will require lengthy and complex filings necessitating a significant expenditure of
24   time and effort by counsel for all parties.
25         6.     I am requesting a continuance because, due to professional commitments
26   and personal life events, the defense needs more time than presently available under the
27   schedule to gather letters, prepare a sentencing video, and draft the sentencing
28
           1
             Carel Ale is no longer counsel of record in this case. Adam Olin was on family
     leave from February through August.
Case 2:20-cr-00326-JFW Document 1192 Filed 10/24/23 Page 3 of 3 Page ID #:27401




 1   submission, including a response to the yet-undisclosed PSR. I am also requesting a
 2   continuance for the reason discussed in my concurrently-filed sealed declaration.
 3         7.     I communicated with the government about this application; the
 4   government indicated that it neither opposes the substance of the application nor its ex
 5   parte nature. The government has indicated, however, that it will oppose further
 6   continuances beyond the requested January 26, 2024 date.
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 8         I declare under penalty of perjury that the foregoing is true and correct to the best
 9   of my knowledge and belief. Executed October 23, 2023 at Los Angeles, California.
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11                                                       /s/ Charles J. Snyder
                                                             Charles J. Snyder
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